  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 1 of 7 Page ID #:327



 1

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA
 9

10                                                  )    CASE NO. CV18-0230-MWF (ASx)
     NETFLIX STUDIOS, LLC, et. al.,                 )
11                                                  )    Referred for settlement proceedings to Magistrate
                           Plaintiffs,              )    Judge Alka Sagar
12                                                  )
                   v.                               )    ORDER RE SETTLEMENT CONFERENCE
13                                                  )
   DRAGON MEDIAL INC.,                              )    DATE:          December 10, 2018
14 dba Dragon Box, et. al.,                         )    TIME:          10:00 A.M.
                                                    )    PLACE:         COURTROOM 540
15                         Defendants.              )
                                                    )
16                                                  )
                                                    )
17

18

19          A telephonic conference with counsel for the parties was held on November 30, 2018 regarding the

20 referral of this case for settlement proceedings. The parties agreed to the following schedule for the

21 settlement conference:

22          The Settlement Conference will be held on Monday, December 10, 2018 at 10:00 a.m.,

23          Courtroom 540 , 5th Floor, 255 East Temple Street, Los Angeles, California 90012.

24

25          Magistrate Judge Alka Sagar will not be involved in the actual trial of the case and will assist the

26 parties in an objective appraisal and evaluation of the case. The following are mandatory guidelines for the

27 parties in preparing for the Settlement Conference.

28
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 2 of 7 Page ID #:328



 1

 2                          PLEASE READ THIS ORDER CAREFULLY

 3

 4          1.      The purpose of the Settlement Conference is to permit an informal discussion between the

 5 attorneys, parties, non-party indemnitors or insurers, and the settlement judge, of every aspect of the case

 6 bearing on its settlement value.

 7

 8          2.       Pursuant to Local Rule 16-15.8, all settlement proceedings shall be confidential and no

 9 statement made during the settlement conference to the Court (including statements made in the parties’

10 confidential settlement briefs regarding the parties’ respective settlement discussions, demands and offers

11 made prior to the settlement conference), the parties and/or their counsel shall be admissible in any

12 proceeding in the case, unless the parties otherwise agree. No part of a settlement proceeding shall be

13 reported or otherwise recorded, without the consent of the parties, except for any memorialization of a

14 settlement agreement.

15

16          3.      The Court requires Counsel who will try the case to be present at the settlement conference.

17 At least one representative, with full settlement authority on behalf of all the Plaintiffs, must be present with

18 counsel Michael DeSantis. Representatives for each Plaintiff, with full settlement authority to enter into a

19 settlement agreement, must be available by telephone during the pendency of the settlement conference.

20 A representative with full settlement authority on behalf of the Defendants must be present with counsel

21 Matthew Faust.

22

23          Counsel must ensure the Court that Plaintiffs have full and final authority, to authorize

24 dismissal of the case with prejudice, or to accept a settlement amount recommended by the settlement

25 judge down to the Defendants’ last offer made prior to the settlement conference. Defendants’

26 representative must have final settlement authority to commit the defendants to pay, in the

27 representative's discretion, a settlement amount recommended by the settlement judge up to the

28

                                                           2
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 3 of 7 Page ID #:329



 1 plaintiffs’ prayer (excluding punitive damage prayers), or up to the plaintiffs’ last demand made

 2 prior to the settlement conference, whichever is lower.

 3

 4          The purpose of this requirement is to have representatives present who can settle the case during the

 5 course of the settlement conference. ANY VIOLATION OF THIS REQUIREMENT WILL CAUSE

 6 THE COURT TO CANCEL THE SETTLEMENT CONFERENCE. IN ADDITION, COUNSEL

 7 AND/OR THE PARTY WHO VIOLATE THIS ORDER MAY BE SUBJECT TO SANCTIONS.

 8

 9          4.      Counsel must make arrangements for an interpreter to be present for any client or party

10 representative requiring an interpreter to understand and meaningfully participate in the settlement

11 conference. Any violation of this requirement will cause the Court to cancel the settlement conference and

12 order the noncomplying attorney, party, or both to pay the costs and expenses incurred by other parties as

13 a result of such cancellation and rescheduling. Any questions regarding the need for an interpreter must be

14 directed to the Courtroom Deputy Clerk prior to the date of the conference.

15

16          5.      Absent authorization from the Court, Counsel appearing without their clients (whether or not

17 counsel purportedly have been given settlement authority) will cause the settlement conference to be

18 canceled and rescheduled. The noncomplying party, attorney, or both, may be assessed the costs and

19 expenses incurred by other parties as a result of such cancellation and rescheduling, as well as any additional

20 sanctions deemed appropriate.

21

22          6.      Any insurance company that is a party or is contractually required to defend or to pay

23 damages, if any, assessed within policy limits in this case, must have a fully authorized settlement

24 representative present at the conference. Such representative must have final settlement authority to commit

25 the company to pay, in the representative's discretion, an amount recommended by the settlement judge

26 within the policy limits. The purpose of this requirement is to have an insurance representative present who

27 can settle the outstanding claim or claims during the course of the conference without consulting a superior.

28 An insurance representative authorized to pay, in his or her discretion, up to the plaintiffs’ last demand

                                                          3
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 4 of 7 Page ID #:330



 1 made prior to the settlement conference will also satisfy this requirement.        Counsel of record will be

 2 responsible for timely advising any involved non-party insurance company of the requirements of this Order.

 3

 4          7.      The settlement judge may, in her discretion, converse with the lawyers, the parties, the

 5 insurance representatives, or any one of them outside of the hearing of the others. The comments of the

 6 judge during such separate sessions are not to be used by counsel in settlement negotiations with opposing

 7 counsel. This is a necessary requirement in order to avoid intentional or unintentional misquotation of the

 8 judge's comments. Violation of this policy may be misleading and therefore a hindrance to settlement.

 9

10          8.      The Court understands that the parties have engaged in oral and written good faith settlement

11 negotiations to date. Prior to the Settlement Conference, the attorneys are directed to discuss settlement with

12 their respective clients and insurance representatives, so that the parameters of possible settlement will have

13 been explored well in advance of the Settlement Conference. At the Settlement Conference, each party shall

14 be fully prepared to discuss all economic and non-economic factors relevant to a full and final settlement

15 of the case.

16          In addition, the Court ORDERS that the following occur prior to the settlement conference:

17          (a)     The parties must summarize all settlement efforts and proposals in their settlement

18                  conference letters to the Court. If the parties successfully resolve the case before the

19                  conference or determine that the conference should be postponed, counsel must

20                  immediately inform the courtroom deputy clerk. \

21

22          9.      No later than Thursday, December 6, 2018, at 4:00 p.m. PST, each party shall submit

23 a Confidential Settlement Conference Statement directly to the chambers of Magistrate Judge Sagar

24 via fax to (213) 894-2965 or email to AS_Chambers@cacd.uscourts.gov. The Statements should not

25 be filed with the Clerk of the Court and will not be made part of the case file. The Statements shall

26 be double-spaced and shall not exceed ten (10) pages in length. Parties may attach exhibits that are

27 relevant to settlement discussions. Copies of the confidential settlement conference statement need not be

28

                                                          4
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 5 of 7 Page ID #:331



 1 served upon opposing counsel. Plaintiffs may elect to submit a collective statement setting forth their joint

 2 position regarding settlement.

 3

 4          The parties’ respective Settlement Conference Statements shall include the following:

 5

 6          A.    A brief statement of the facts of the case, including the party’s claims and defenses. The

 7 statement should include citations to the applicable statutory or other grounds upon which claims or defenses

 8 are based. This statement should identify the major factual and legal issues in dispute, and cite any

 9 controlling authorities.

10

11          B.    An ITEMIZED STATEMENT OF THE DAMAGES claimed, and of any other relief sought.

12 This is one of the most critical aspects of the party’s statement. Any statement which omits an itemized

13 statement of damages will be considered a violation of this Order and may subject the party to

14 sanctions.

15

16          C. A summary of the proceedings to date, including any case management dates/deadlines already

17 set by the District Judge.

18

19          D. A history of past settlement discussions, offers and demands.

20

21          E.      A forthright evaluation of the party's likelihood of prevailing on each of its claims and/or

22 defenses.

23

24          F.      The approximate amount of attorney's fees, time and costs expended to date, and an estimate

25 of the fees, time and costs to be expended for (i) further discovery, (ii) pretrial and (iii) trial.

26

27          G.      The party's evaluation of the terms on which the case could be settled fairly, taking into

28 account the litigation position and settlement position of the other side.

                                                            5
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 6 of 7 Page ID #:332



 1          10.      In the event both parties agree that a settlement conference at this point in the litigation would

 2 not be meaningful, after the above-described steps are completed, the parties are instructed to telephone Judge

 3 Sagar’s courtroom deputy clerk at (213) 894-1587 and inform her of this information. The Court will then

 4 schedule a telephonic conference to discuss the matter. The Court may also inquire of the parties, separately,

 5 upon receipt of the confidential settlement statements and/or schedule a telephone conference to discuss

 6 issues before the settlement conference.

 7

 8          11.      Any failure of the trial attorneys, parties or persons with authority to attend the conference will

 9 result in sanctions to include the fees and costs expended by the other parties in preparing for and attending

10 the conference. Failure to timely deliver a Confidential Settlement Conference Statement or otherwise

11 comply with this Order, will also result in sanctions being imposed.

12

13          12.      At the commencement of the conference, Counsel should have available for the Court’s

14 review copies of all critical documents (i.e., pleadings, declarations or witness statements, business records,

15 personnel files, etc.) in the case, as well as copies of all important witnesses’ deposition transcripts, if a party

16 believes such documents will assist in the evaluation of the case. If a party’s settlement position is predicated

17 on the recoupment or recovery of attorney’s fees and/or costs, then its counsel should have available for the

18 Court’s review copies of billing records substantiating both the time expended and the expenses incurred.

19

20          13.      If the parties reach a resolution of the case during the conference, the Court will ask counsel

21 to summarize the key terms of the agreement on the record and may direct the parties to draft an appropriate

22 memorandum. The Court encourages counsel to bring a proposed settlement agreement to the conference.

23 If no resolution is reached, the Court will consult with the parties to determine whether an additional

24 settlement conference is likely to be productive. By participating in the settlement conference, the parties

25 understand and agree that the Magistrate Judge may continue to handle discovery motions and other pretrial

26 proceedings in this action.

27

28

                                                             6
  Case 2:18-cv-00230-MWF-AS Document 39 Filed 11/30/18 Page 7 of 7 Page ID #:333



 1         14.     If settlement between any or all parties is reached as a result of the Settlement Conference,

 2 it is the responsibility of all counsel to immediately report the settlement to the District Judge's courtroom

 3 deputy clerk, as well as to timely memorialize the settlement. See Local Rule 16-15.7.

 4

 5         15.     All papers submitted for the Settlement Conference will either be returned to the parties or

 6 destroyed by the Magistrate Judge, after the settlement proceedings are concluded, unless the parties agree

 7 otherwise.

 8

 9 DATED: November 30, 2018

10                                                            /s/
                                                           ALKA SAGAR
11                                                UNITED STATES MAGISTRATE JUDGE

12

13

14

15

16

17

18

19

20

21

22

23

24
                                                                                          :   15
25

26

27

28

                                                         7
